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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION


VALERIE JACKSON,                    §
          Plaintiff,                §
                                    §
VS.                                 §      CIVIL ACTION NO. 3:18-cv-2935
                                    §
LUPE VALDEZ, et al.,                §
          Defendants.               §
                                    §

          _________________________________________________________

                    DEFENDANTS’ RESPONSE TO MOTION
              FOR STAY PENDING DETERMINATION OF APPEAL
                   AND BRIEF IN SUPPORT OF DEFENDANTS
          __________________________________________________________


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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION


    VALERIE JACKSON,                                   §
              Plaintiff,                               §
                                                       §
    VS.                                                §         CIVIL ACTION NO. 3:18-cv-2935
                                                       §
    LUPE VALDEZ, et al.,                               §
              Defendants.                              §
                                                       §

                  _________________________________________________________

                            DEFENDANTS’ RESPONSE TO MOTION
                      FOR STAY PENDING DETERMINATION OF APPEAL
                           AND BRIEF IN SUPPORT OF DEFENDANTS
                  __________________________________________________________

    TO THE HONORABLE JUDGE OF SAID COURT:

            COMES NOW Defendants Dallas County, Texas, Lupe Valdez, Marian Brown, Samuel

    Joseph and Lizyamma Samuel (“Defendants”) and files this Response to the Motion for Stay

    Pending Determination of Appeal filed by Plaintiff Valerie Jackson. In support thereof,

    Defendants would show the Court as follows:




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                                                         I.

                                               INTRODUCTION

            Plaintiff has moved this Court for a stay during the pendency of proceedings in the Fifth

    Circuit Court of Appeals on Plaintiff’s appeal of this Court’s: 1) Memorandum Opinion and

    Order denying Plaintiff’s Motion to Recuse; 2) Order Accepting Findings and Recommendation

    of the United States Magistrate Judge; and 3) Partial Judgment dismissing all claims against

    Dallas County and all claims against Defendants Sheriff Lupe Valdez and Sheriff Marian Brown

    in their official capacities. Plaintiff has not yet filed a petition with the Fifth Circuit.

                                                         II.

                                          STANDARD OF REVIEW

            The standard of review governing motions to stay proceedings pending appeal considers

    the following factors: 1) Plaintiff’s strong showing of a likelihood of success on the merits; 2)

    Plaintiff’s irreparable harm; 3) no substantial harm to other parties; and 4) the public interest.

    See Hilton v. Braunskill, 481 U.S. 770, 776 (1987); Nken v. Holder, 556 U.S. 418, 437 (2009);

    Planned Parenthood of Greater Tex. Surgical Health Servcs. v. Abbott, 734 F.3d 406, 410 (5th

    Cir. 2013). The first two factors are usually the most important. See Nken, 556 U.S. at 434;

    ODonnell v. Goodhart, 900 F.3d 220, 223 (5th Cir. 2018); Mazurek v. U.S., WL 260064 (E.D.

    Louisiana 2001). However, as explained in Mazurek, “Courts in this [5th] Circuit have refused to

    apply these factors in a mechanical fashion, holding that ‘the movant need only present a

    substantial case on the merits when a serious legal question is involved and show that the

    balance of the equities weighs heavily in favor of granting the stay.’” See Mazurek at 1 quoting



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    Ruiz v. Estelle, 650 F.2d 555, 565 (5th Cir. Unit A June 1981); see also National Treasury

    Employees Union v. Von Raab, 808 F.2d 1057, 1059 (5th Cir.1987) (per curiam); United States v.

    Baylor Univ. Med. Ctr., 711 F.2d 38, 39 (5th Cir.1983). But see Wildmon v. Berwick Universal

    Pictures, 983 F.2d 21, 23–24 (5th Cir.1992) (cautioning against improper application of the Ruiz

    standard). “If the balance of equities is not heavily tilted in the movant's favor, the movant must

    then make a more substantial showing of likelihood of success on the merits in order to obtain a

    stay pending appeal.” Ruiz, 650 F.2d at 565–66.

                                                             III.

                                       ARGUMENT AND AUTHORITIES

                           Plaintiff is unable to show likely success on the merits

             Plaintiff has made no showing of a likelihood of success on the merits and has not even

    addressed this factor in their motion. In fact, although Plaintiff contends that resolution on their

    Petition for Writ of Mandamus in Plaintiff’s favor could completely change the outlook of the

    case, Plaintiff fails to note that the court of appeals has already reviewed this issue since

    Plaintiff’s Petition for Writ of Mandamus (based on this Court’s November 22, 2019 denial of

    Plaintiff’s Motion to Recuse (Doc 41)) was denied by the court of appeals on December 19,

    2019. (Doc 42). Furthermore, although Plaintiff filed a Petition for En Banc Consideration on

    January 2, 2020, the court of appeals denied the Petition for En Banc Consideration on January

    28, 20201. Since both this court and the court of appeals have already addressed this issue and

    ruled against Plaintiff, Plaintiff is unable to show a likelihood of success on the merits.



    1 Defendants would request the Court to take judicial notice of the denial of Plaintiff’s Petition for En Banc
    Consideration. In re: Valerie Jackson, No. 19-11328 (5th Cir. 2019).

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            With respect to Plaintiff’s claims that a resolution in their favor on the question of

    municipal liability could potentially change this case, such speculation is insufficient to meet this

    factor and to justify a stay as Plaintiff is required to demonstrate not just that their proposed

    appeal “could” succeed if a certain outcome were reached, but that Plaintiff has a strong

    likelihood of success; Plaintiff has failed to do so. Finally, as this court has already addressed all

    of Plaintiff’s issues after careful consideration of the documents filed by both parties, it would be

    unlikely that the court of appeals would come to a different decision and Plaintiff is unable to

    show they are likely to succeed on the merits. Accordingly, this factor should be weighed heavily

    in favor of Defendants.

                                Plaintiff is unable to show irreparable harm

            Plaintiff has made no showing of irreparable harm and indeed has not even addressed this

    factor in their motion. Furthermore, Plaintiff is unable to show irreparable harm as Plaintiff’s

    remaining claims would remain available to address with or without a stay. Accordingly, this factor

    should be weighed heavily in favor of Defendants.

                                    Defendant would be harmed by a stay

            Plaintiff contends that there is no harm if this case is abated until the issues on appeal are

    resolved and argues that the parties would be saved the cost of potentially unnecessary discovery on

    the off chance that the court of appeals were to reverse and remand. Plaintiff further contends that

    this court would be spared the use and potential waste of judicial resources with a stay. However,

    Plaintiff fails to note that a stay would cause harm to Defendants by extending the length of time and

    resources necessary for Defendants to reach final resolution on the claims in this case. Defendants




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    would contend that there is no cause for delay and the expedient resolution of this case would be a

    more, rather than a less, efficient and prudent utilization of resources by both the parties and the

    court. Accordingly, this factor should be weighed in favor of Defendants.

                                 The public interest is not served by a stay

            Plaintiff has made no showing that a stay would serve the public interest and, at most, could

    be said to have touched on this issue in their lone argument regarding harm to the Defendants.

    However, as noted above, efficient resolution of cases would seemingly be of greater service to the

    public interest than a needless stay to prolong the length of time needed to resolve this case.

    Furthermore, with no attempt to address or even assert that the public interest is served by a further

    delay of this case, the Court should find the public is better served if this case proceeds.

    Accordingly, this factor should be weighed in favor of Defendants.

                       A stay pending determination of the appeal is unwarranted

            Considering the factors for review in the decision to grant a stay, Plaintiff has not

    established, and indeed, is unable to establish that a stay is warranted in this case. Accordingly, a

    consideration of all of the factors establishes that a stay is unwarranted in this case and that

    Plaintiff’s Motion should be denied.

                                                        IV.

                                                    PRAYER

            WHEREFORE, PREMISES CONSIDERED, Defendants respectfully pray that: (1) the

    Court denies Plaintiff’s Motion for Stay Pending Determination of Appeal; (2) all relief

    requested by Plaintiff be denied; and (3) for such other and further relief, general or special, at




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    law and in equity, to which it may be justly entitled.

                                                      Respectfully submitted,

                                                      JOHN CREUZOT
                                                      DISTRICT ATTORNEY

                                                      /s/ Chong Choe ______________
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                                        CERTIFICATE OF SERVICE

            In accordance with the Rule 5(b)(2)(E) of the Federal Rules of Civil Procedure and Local

    Rule 5.1(d), I hereby certify that a true and correct copy of the foregoing instrument has been

    electronically served upon all parties.



                                                      /s/ Chong Choe
                                                      CHONG CHOE




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